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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-09-029
                                                 §
                                                 §
SUZANNE VOELKER                                  §
RICARDO BELTRAN                                  §


                                          ORDER

              Defendant Voelker filed an unopposed motion for continuance, (Docket Entry

No. 26). Defendant Beltran is unopposed to the motion. The court finds that the interests of

justice are served by granting this continuance and that those interests outweigh the interests

of the public and the defendants in a speedy trial. The motion for continuance is GRANTED.

The docket control order is amended as follows:

       Motions to be filed by:                       May 26, 2009
       Responses to be filed by:                     June 8, 2009
       Pretrial conference is reset to:              June 15, 2009, at 8:45 a.m.
       Jury trial and selection are reset to:        June 22, 2009, at 9:00 a.m.


              SIGNED on March 4, 2009, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
